     Case: 4:17-cv-01932-SPM Doc. #: 12 Filed: 11/06/17 Page: 1 of 2 PageID #: 36




                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF MISSOURI
                                               EASTERN DIVISION
  ------------------------------------------------------x
  MALCOLM JOHNSON,                                      :
  an individual,                                        :
                                                        :
                    Plaintiff,                          : CASE NO.: 4:17-cv-01932-SPM
                                                        :
  vs.                                                   :
                                                        :
  SCHNUCK MARKETS, INC.,                                :
                                                        :
                                                        :
                    Defendant.                          :
  ------------------------------------------------------x

          JOINT NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Malcolm Johnson, and defendant,

  Schnuck Markets, Inc., jointly file this Notice of Voluntary Dismissal Without Prejudice. The

  parties seek to voluntarily dismiss the above entitled action, without prejudice.



  Dated: November 6, 2017


                                                               Respectfully Submitted,

                                                               BIZER & DEREUS
                                                               Attorneys for Plaintiff
                                                               Garret S. DeReus (MO # 68840)
                                                               gdereus@bizerlaw.com
                                                               Marc P. Florman (# 35128LA)
                                                               mflorman@bizerlaw.com
                                                               3319 St. Claude Ave.
                                                               New Orleans, LA 70117
                                                               T: 504-619-9999; F: 504-948-9996
SO ORDERED.
Nov 6, 2017                                                    By:/s/ Garret S. DeReus
                                                                       Garret S. DeReus

                                                               ***AND***
  Case: 4:17-cv-01932-SPM Doc. #: 12 Filed: 11/06/17 Page: 2 of 2 PageID #: 37




                                                   Respectfully submitted,

                                                   By:      /s/ Ryan C. Turnage
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                                                            Ryan C. Turnage, No. 61831 MO
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                                                            11420 Lackland Road
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                                                            (314) 994-4333 – Telephone
                                                            (314) 994-4412 – Facsimile

                                                         Attorneys for Schnuck Markets, Inc.


                               CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of November, 2017, I served a copy of the foregoing

pleading on defendant via ECF filing.



                                                            By:/s/ Garret S. DeReus
                                                                    Garret S. DeReus




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